                     IN THE DISTRICT COURT OF THE UNITED STATES
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION
                                       3:04-cr-250

UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                                 ORDER
                                         )
MONICA NICOLE FLOYD (3)                  )
________________________________________ )


       THIS MATTER is before the Court upon motion of the defendant for a reduction of

sentence based on retroactive amendments to the United States Sentencing Guidelines relating to

crack cocaine triggered by the Fair Sentencing Act of 2010. (Doc. No. 730).

       The Court previously found that the defendant was sentenced based on the statutory

mandatory minimum applicable to her offense. (Doc. No. 562: Order at 1). Accordingly, the

defendant is not eligible for relief under the recent retroactive amendments because the lowered

guideline range remains trumped by the 120-month mandatory minimum sentence prior to

considerations of departure. USSG §1B1.10 comment. (n.1(A)(ii)).

       IT IS, THEREFORE, ORDERED that the defendant’s motion is DENIED.

       The Clerk is directed to certify copies of this order to the defendant, the Community

Defender, the United States Attorney, the United States Marshals Service, and the United States

Probation Office.
                                                      Signed: May 31, 2012




    Case 3:04-cr-00250-RJC-DSC           Document 737        Filed 05/31/12     Page 1 of 1
